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                       [Additional Counsel on Signature Page]
               10
                                                    UNITED STATES DISTRICT COURT
               11
                                                NORTHERN DISTRICT OF CALIFORNIA
               12
                                                       SAN FRANCISCO DIVISION
               13
                        CHRISTINA MCCLELLAN and BILLY              Case No. 3:22-cv-04758-SK
               14       MOSES, individually and on behalf of all
                        others similarly situated,                 JOINT CASE STATUS UPDATE
               15
                                       Plaintiff,                  Magistrate Judge Sallie Kim
               16
                        v.
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                        TWITTER, INC.,
               18
                                       Defendant.
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                                                                                          JOINT CASE STATUS UPDATE
ATTORNEYS AT LAW
                                                                                             CASE NO. 3:22-cv-04758-SK
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                   1          Pursuant to the Court’s October 14, 2022 orders staying proceedings in the above-

                   2   captioned case (McClellan Dkt. 22; Gianakopoulos Dkt. 27), Plaintiffs Christina McClellan and

                   3   Billy Moses (“McClellan Plaintiffs”), and Plaintiffs Peter Gianakopoulos, Jamisha Pryor, Henry

                   4   Yeh, Sheila Garcia, Alyssa Schaffer, and Jeffery Robinson (“Gianakopoulos Plaintiffs”)

                   5   (collectively, “Plaintiffs”) and Defendant Twitter, Inc. (“Twitter”) submit this Joint Case Status

                   6   Update.

                   7          On August 18, 2022, the McClellan Plaintiffs filed their Class Action Complaint.

                   8   (McClellan Dkt. 1). On August 15, 2022, the Gianakopoulos Plaintiffs filed their Class Action

                   9   Complaint. (Gianakopoulos Dkt. 1). The McClellan and Gianakopoulos actions assert the same

               10      claims on behalf of the same putative class as the putative class in Price v. Twitter, Inc., Case No.

               11      22-cv-03173 -SK (N.D. Cal.). The Court related the McClellan and Gianakopoulos actions to the

               12      Price action on September 23, 2022. (Price Dkt. 38). On October 14, 2022, the Court stayed the

               13      McClellan and Gianakopoulos actions pending the Court’s ruling on the Price Motion to Dismiss,

               14      and the parties agreed to submit an update regarding further proceedings and consolidation within

               15      14 days of the Court’s ruling on that Motion. (McClellan Dkt. 22; Gianakopoulos Dkt. 27).

               16             On December 6, 2022, the Court granted Twitter’s Motion to Dismiss the Price Complaint

               17      with leave to amend. (Price Dkt. 50). The parties have conferred and agree that the McClellan

               18      and Gianakopoulos actions should be consolidated with the Price action.

               19             The parties intend to file a stipulation proposing consolidation of the McClellan,

               20      Gianakopoulos, and Price actions, and subject to the Court’s approval, along with Ms. Price,

               21      Plaintiffs intend to file a consolidated amended complaint.

               22

               23      DATED: December 20, 2022                      LATHAM & WATKINS LLP

               24                                                     By: /s/ Elizabeth L. Deeley
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                   5   DATED: December 20, 2022          MILBERG COLEMAN BRYSON PHILLIPS
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               10                                         Attorneys for Plaintiffs Christina McClellan and
                                                          Billy Moses
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                                                             2                          CASE NO. 3:22-cv-04758-SK
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                   1                                   ATTORNEY ATTESTATION

                   2          I am the ECF User whose identification and password are being used to file the foregoing

                   3   Joint Case Status Update. Pursuant to Civil Local Rule 5-1(h)(3) regarding signatures, I, Elizabeth

                   4   L. Deeley, attest that concurrence in the filing of this document has been obtained. Executed this

                   5   20th day of December 2022, in San Francisco, California.

                   6

                   7
                                                                             /s/ Elizabeth L. Deeley
                   8                                                         Elizabeth L. Deeley
                   9                                                         of LATHAM & WATKINS LLP

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